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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                  7      UNITED STATES OF AMERICA,
                                                                                        Case No. 13-cr-00818-PJH-2
                                  8                    Plaintiff,
                                                                                        ORDER DIRECTING GOVERNMENT
                                  9             v.                                      TO FILE RESPONSE TO RULE 60
                                                                                        MOTION
                                  10     DEANTE TERRANCE KINCAID,
                                                                                        Re: Dkt. No. 484
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




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                                  14          Petitioner in this habeas case has filed a motion under Rule 60(b) for relief from

                                  15   the judgment denying his § 2255 petition. See Dkt. 484. The court hereby directs the

                                  16   government to file a response to petitioner’s motion, no later than January 6, 2022. The

                                  17   government shall also serve a copy of the response on petitioner. If petitioner wishes to

                                  18   reply, he shall do so by filing a reply brief with the court no later than January 20, 2022.

                                  19   The motion will thereafter be submitted on the papers.

                                  20          IT IS SO ORDERED.

                                  21   Dated: December 3, 2021

                                  22                                                    /s/ Phyllis J. Hamilton
                                                                                    PHYLLIS J. HAMILTON
                                  23                                                United States District Judge
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